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                                              United States Bankruptcy Court
                                        Northern District of Georgia - Atlanta Division
 In re   David Escobedo Hidalgo                                                               Case No.    21-54552
                                                                   Debtor(s)                  Chapter     7



                                 AMENDED AMENDMENT COVER SHEET
Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
Schedule C




                             NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendment(s) listed above has
been given this date to any and all entities affected by the amendment as follows:S. Gregory Hays, Trustee via NEF



Date: September 29, 2022                               /s/ A. Christopher Nogales
                                                       A. Christopher Nogales 545420
                                                       Attorney for Debtor(s)
                                                       Nogales & Associates, LLC
                                                       1805 Herrington Rd, Bldg 3, Ste D
                                                       Lawrenceville, GA 30043
                                                       770-263-9990 Fax:770-263-9992
                                                       bankruptcy@nogalesfirm.com
             Case 21-54552-bem                 Doc 33        Filed 09/29/22 Entered 09/29/22 13:36:44                              Desc Main
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Fill in this information to identify your case:

Debtor 1                David Escobedo Hidalgo
                        First Name                   Middle Name                Last Name

Debtor 2
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

Case number           21-54552
(if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     114 Truman Court Jackson, GA                           $152,000.00                                $43,000.00      O.C.G.A. § 44-13-100(a)(1)
     30233 Butts County
     Line from Schedule A/B: 1.1                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Misc HHGs                                                     $700.00                                 $700.00     O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 6.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Misc Clothing                                                 $400.00                                 $400.00     O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 11.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Cash                                                           $75.00                                  $75.00     O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 16.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     United Bank                                                    $20.00                                  $20.00     O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit



Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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Debtor 1    David Escobedo Hidalgo                                                           Case number (if known)      21-54552
3. Are you claiming a homestead exemption of more than $170,350?
   (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                            Schedule C: The Property You Claim as Exempt                                             page 2 of 2
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                                             United States Bankruptcy Court
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                   DECLARATION CONCERNING DEBTOR'S AMENDED SCHEDULES

                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                  I declare under penalty of perjury that I have read the foregoing Schedule C, consisting of   1    page(s),
        and that they are true and correct to the best of my knowledge, information, and belief.



Date    September 29, 2022                                      Signature /s/ David Escobedo Hidalgo
                                                                              David Escobedo Hidalgo
                                                                              Debtor 1

  Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                   18 U.S.C. §§ 152 and 3571.
